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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO

 JOHN DOE, an individual,
                          Plaintiff,                             Case No.
 v.                                               COMPLAINT AND DEMAND FOR
                                                           JURY TRIAL
 COLLEGE OF EASTERN IDAHO;
 COLLEGE OF EASTERN IDAHO BOARD                             Filing Fee: $402.00
 OF TRUSTEES; KATHLEEN NELSON;
 CLINT READING; LORI BARBER; VICKI
 NIELSON; HAILEY HOLLAND;
 MICHAEL WALKER; CHRIS SMOUT; and
 RICK AMAN,
                          Defendants.

       COMES NOW Plaintiff, John Doe, by and through his counsel of record, Casperson Ulrich

Dustin PLLC, and for cause of action against Defendants College of Eastern Idaho, College of

Eastern Idaho Board of Trustee, Kathleen Nelson, Clint Reading, Lori Barber, Hailey Holland,

Vicki Nielson, Michael Walker, Chris Smout, and Rick Aman, alleges and complains as follows:


                             THE NATURE OF THIS ACTION


1.     This case arises out of the actions taken and procedures employed by Defendants

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      concerning false allegations made against Plaintiff and his disability status, asserting he

      posed a threat to himself or others. Even after Plaintiff successfully defended against the

      charges, the same biased decision makers expelled Plaintiff from the Nursing Program,

      twice, without due process, after Plaintiff had completed all or substantially all of the

      requirements for his degree.

2.    Plaintiff John Doe seeks relief against Defendants following Plaintiff’s expulsion from the

      Nursing Program based on false allegations of being a threat, Defendant’s ongoing and

      often expressed bias against Plaintiff due to his disabilities and perceived notions of

      impairment, and Defendants’ failure to provide Constitutionally required due process,

      violating both Plaintiff’s liberty interest and his property interest.

3.    Defendants’ actions violated Plaintiff’s rights under federal laws, the U.S. Constitution,

      and state laws.

4.    Defendants’ violations of law have derailed Plaintiff’s education, tarnished his reputation,

      and permanently damaged his future career and educational prospects.

5.    Plaintiff files herewith a motion for leave to identify Plaintiff using a pseudonym.

                                JURISDICTION AND VENUE
6.    This is an action brought under the Rehabilitation Act of 1973, 29 U.S.C. § 701; the

      Americans with Disabilities Act (“ADA”), 42 U.S.C. § 12132 et. seq.; 42 U.S.C. § 1983,

      and the laws of the state of Idaho.

7.    This Court has jurisdiction pursuant to 28 U.S.C. § 1331, 1343, and 1367; as well as 42

      U.S.C. § 12117; and 42 U.S.C. § 1983.

8.    Venue in this action properly lies in the United States District Court for the District of

      Idaho, pursuant to 28 U.S.C. § 1391(b) because the claims arose in this judicial district.

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                                           PARTIES

9.    Plaintiff John Doe (“Plaintiff”) is a male citizen and resident of the United States of

      America, who resides in Idaho and was a student at the College of Eastern Idaho (“CEI”)

      near completion of his degree in the Nursing Program.

10.   Defendant CEI is a community college established in Bonneville County with its campus

      in Bonneville County, Idaho.

11.   CEI is a public entity and receives state and federal financial appropriations, along with

      money from the taxing district in Bonneville County to fund it and charging the counties

      where students reside if they reside outside of Bonneville County.

12.   Defendant CEI Board of Trustees (“Trustees”) is a five-member board elected from various

      areas of Bonneville County. Trustees are responsible for making new rules and regulations

      to govern CEI.

13.   The election of these Trustees is prescribed by Idaho Code § 33-2106.

14.   Defendant Rick Aman (“Aman”) is a resident of the State of Idaho and was the President

      of CEI during all relevant times described in the Complaint. Aman was selected by the

      Trustees and serves under its direction. Aman is sued in his individual capacity, in his

      official capacity, and as an agent for CEI.

15.   The Trustees, and Aman as the Trustees’ administrative hand during the period in question,

      are responsible for ensuring that all CEI employees are properly trained and supervised to

      perform their jobs, including providing students their Constitutional and legal rights.

16.   Defendant Kathleen Nelson (“Nelson”) is a resident of Bonneville County and was the

      Director of the Nursing program at CEI during all relevant times described in the




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      Complaint. Nelson is sued in her individual capacity, in her official capacity, and as an

      agent for CEI.

17.   Defendant Clint Reading (“Reading”) is a resident of the State of Idaho and was the Dean

      of Healthcare and Human Services at CEI during all relevant times described in the

      Complaint. Reading is sued in his individual capacity, in his official capacity, and as an

      agent for CEI.

18.   Defendant Lori Barber (“Barber”) is a resident of the State of Idaho and was CEI’s Vice

      President during all relevant times described in the Complaint. Barber is sued in her

      individual capacity, in her official capacity, and as an agent for CEI.

19.   Defendant Vicki Nielson (“Nielson”) is a resident of the State of Idaho and was CEI’s

      Clinical Coordinator during all relevant times described in the Complaint. Nielson is sued

      in her individual capacity, in her official capacity, and as an agent for CEI.

20.   Defendant Hailey Holland (“Holland”) is a resident of Bonneville County and was a

      counselor in CEI’s Counseling Center during all relevant times described in the Complaint.

      Holland is sued in her individual capacity, in her official capacity, and as an agent for CEI.

21.   Defendant Michael Walker (“Walker”) is a resident of the State of Idaho and was CEI’s

      Dean of Student Affairs during all relevant times described in the Complaint. Walker is

      sued in his individual capacity, in his official capacity, and as an agent for CEI.

22.   Defendant Chris Smout (“Smout”) is a resident of the State of Idaho and was a Faculty

      Instructor in the Nursing Program during all relevant times described in the Complaint.

      Smout is sued in his individual capacity, in his official capacity, and as an agent for CEI.

23.   Each of the individuals listed above are “persons” as that term is defined under 42 U.S.C.

      § 1983 for the specific remedy sought, including prospective injunctive relief as against


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      individuals in their professional capacity and compensatory and general damages against

      individuals.

                                            FACTS

24.   Plaintiff realleges and incorporates paragraphs 1 through 23 as through fully set forth

      herein.

25.   Plaintiff was a student at CEI in Idaho Falls in the Nursing Program. He was a good student

      and performed well in his classes. Plaintiff had completed three of his four semesters

      without incident.

26.   Plaintiff was elected by his peers to be both his class president and student body

      representative and class president. In that role, Plaintiff addressed student concerns with

      professors and administrators.

27.   Nursing students, faculty, and administrators within the Nursing Program, are expected to

      comply with the Nursing Student Policy and Procedures Handbook.

28.   Plaintiff suffers from disabilities arising out of his past employment as a firefighter aka

      “hot shot,” as well as other events. Plaintiff sought to become a nurse and work in a burn

      unit due to the death of several of his co-workers caused by a fire.

29.   Plaintiff’s disabilities can affect his ability to concentrate and focus, especially when his

      disabilities are exacerbated by other events. However, Plaintiff has always managed the

      impact of his disabilities in order to work and succeed as a student.

30.   On or about December 9, 2020, Plaintiff spoke with Reading, Dean of Healthcare and

      Human Services at CEI, in his office.

31.   Plaintiff had been feeling tremendous stress caused by his final exams, his workload, his

      student government responsibilities, and his responsibilities at home.


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32.   All these circumstances exacerbated his disabilities.

33.   Since enrolling at CEI, Plaintiff had been in counseling with Dawn Cureton who oversaw

      CEI’s counseling department and managed the other counselors, including Hailey Holland.

34.   During his meeting with Reading, Plaintiff told him he was feeling a lot of stress and

      anxiety over finals and everything else going on his life.

35.   Reading suggested Plaintiff meet with the on-campus counselor. Plaintiff agreed and

      arranged a meeting at Reading’s direction.

36.   Within a few hours, Plaintiff was in Holland’s office, since Cureton was not available to

      address the acute symptoms he was experiencing resulting from his disabilities and the

      substantial limitations caused by them.

37.   Both Holland and Cureton worked in CEI Counselor’s office. Plaintiff was assured of

      confidentiality and that nothing would be released without his authorization except for

      limited exceptions, one of which included if he posed an “imminent threat.”

38.   Plaintiff told Holland he was at times feeling suicidal and that faculty member, Jodene

      Trimble (“Trimble”), was an additional source of stress and recounted an episode when he

      felt she unfairly gave him a zero on an exam. Plaintiff was taking the exam at the CEI

      testing center when CEI’s system went down. None of the students there, including

      Plaintiff, could take their tests. The proctor monitoring the testing center assured the

      students they would get an opportunity to take their tests. Trimble, however, gave Plaintiff

      a zero on the test because he did not immediately email her about the situation even though

      the failure of CEI’s system and Plaintiff’s attendance could be verified.

39.   Plaintiff’s main source of frustration was that he was never given the opportunity to discuss

      the matter with Trimble to explain the circumstances surrounding the exam. The lack of an


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      opportunity to address situations like this and an overall unwillingness by the faculty in

      general to discuss matters important to the students’ success was an ongoing source of

      frustration and stress for Plaintiff and other students.

40.   In addition, Trimble asked Plaintiff’s employer if he was saying negative comments about

      CEI’s Nursing Program. Plaintiff felt targeted and disliked by Trimble because Plaintiff

      was willing to raise student complaints and concerns.

41.   Holland asked if Plaintiff currently had thoughts of violence. Plaintiff said “no,” but that

      he had felt them earlier and had worked through them.

42.   Holland asked Plaintiff if he had a plan to carry out any violence. Plaintiff denied having

      any plan to carry out any violence.

43.   Plaintiff has a history of struggling with disabilities which prompts at times negative

      thoughts toward himself.

44.   Holland posed a hypothetical and asked if he were to do something, how would he do it.

45.   Not knowing exactly what Holland meant by her hypothetical and thinking of violence

      only toward himself, Plaintiff responded that if he were to do something, he would

      probably use a gun. Plaintiff acknowledged that he did own guns, which is very common

      in southeastern Idaho.

46.   Plaintiff repeatedly denied having any plan or intent to hurt himself or others.

47.   The session ended soon after and Plaintiff left and went home. Holland never expressed

      any concern to Plaintiff that he posed a threat, that he needed additional help, or she needed

      to report any concerns.




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48.   After Plaintiff left her office, Holland called Cureton and told her she thought Plaintiff

      posed a threat. Cureton told her that she (Cureton) could not make that determination

      because she was not there.

49.   Holland then breached confidentiality and called Trimble, CEI Vice President Barber, and

      Walker to tell them that Plaintiff posed a threat but that he did not have a plan to carry out

      any threat.

50.   After speaking with Holland, Barber called Reading and Rick Aman, President of CEI, to

      relay what Holland had told her and to secure the campus, although Holland admitted

      Plaintiff had no intention of hurting anyone, including himself.

51.   Barber then called Holland back and asked if Plaintiff was still on campus. Holland said

      she did not think so. Holland reiterated her alleged duties under “Tarasoff law” and again

      said Plaintiff did not have a plan to carry out a threat.

52.   Only after telling numerous CEI employees the false allegations about Plaintiff did Holland

      call Plaintiff to tell him she intended to report although she had already done so.

53.   Understandably, Plaintiff was upset. He had no intention of harming anyone, including

      himself, and sought counseling for the sole purpose of venting his frustration. Plaintiff felt

      lied to about the confidentiality of counseling.

54.   On or about December 10, 2020, Plaintiff was at home when he heard a knock at the door.

      He opened it and saw two uniformed police officers who said they were there to conduct a

      wellness check. Barber or another CEI employee had apparently called the police to

      determine whether he should be arrested. One of the officers, Sergeant Morgan concluded

      there “were no imminent danger issues” after Plaintiff explained the situation and assured

      him and the other officer, Officer Lyke, that he had no intention of hurting himself or


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      others. Officer Lyke drew the same conclusion in his report from the same date. In his

      report, he wrote, “There did not appear to be any indication [John Doe] had any intention

      to harm himself or anyone else during our conversation.”

55.   While the two officers were there, a third officer entered the house uninvited, sat on the

      couch and proceeded to threaten Plaintiff, telling him he could be incarcerated in an

      apparent attempt to elicit any potential aggression from Plaintiff.

56.   All the officers determined Plaintiff did not pose a threat to himself or others, so all three

      left without making any arrest or taking him into custody.

57.   Later that afternoon, Plaintiff received an email from Walker, the Dean of Student Affairs

      at CEI, informing him he was barred from campus until January 4, 2021, while they

      investigated the matter.

58.   That evening Plaintiff went to work in Idaho Falls as usual. While at work at the hospital,

      two other uniformed officers served a temporary civil protection order on Plaintiff, which

      initiated a lot of questions with Plaintiff’s employer and coworkers and created a huge

      traumatic ripple effect in his life.

59.   Later that evening, Plaintiff emailed Walker, expressing frustration over how the

      statements he made during a private, confidential counseling session were being used

      against him especially when he had no intention of hurting himself or anyone else and told

      Holland that.

60.   Walker responded via email saying he had reviewed “the record” and believed Plaintiff

      should check himself into the Behavioral Health Clinic. Plaintiff was shocked that Walker

      had apparently accessed his counseling records and would make such a biased statement

      to him.


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61.   On December 11, 2020, Plaintiff received an email from Rebecca Killion (“Killion”),

      inviting Plaintiff, Reading, and Kathleen Nelson to a Zoom meeting on December 14, 2020.

      The email contained no further information.

62.   Plaintiff emailed Reading the next day to inform him he wanted legal counsel present.

      Plaintiff did not feel safe speaking with them alone after being approached by the police

      on two separate occasions and having his words twisted. No one at CEI made any further

      attempt to speak with Plaintiff to discover what he said during the counseling session or

      the status of what his mental or emotional state was. CEI also did not respond to Plaintiff’s

      statement about wanting legal counsel and made no further attempt to speak with him.

63.   Instead, on December 14, 2020, the day the Zoom meeting was to take place, Nelson, the

      Director of the Nursing Program, drafted a letter of dismissal.

64.   On December 21, 2020, Plaintiff received Nelson’s letter via email dismissing him from

      the program.

65.   Plaintiff had only one more semester left in order to complete his nursing degree.

66.   On December 22, 2022, Plaintiff appeared in Bonneville County magistrate court for a

      hearing on the civil protection order initiated by Trimble.

67.   After reviewing the evidence, including the testimony and argument presented at the

      hearing, the magistrate judge dismissed the order of civil protection.

68.   On December 23, 2020, Plaintiff submitted to CEI a notice of appeal of his expulsion or

      dismissal based on the false allegations that he posed a threat, let alone an imminent threat.

      After seeing the objections, Nelson amended her letter to assert new allegations.

69.   On January 5, 2021, CEI held a hearing on Plaintiff’s appeal of the dismissal.




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70.   Plaintiff had a protected property interest in his professional educational pursuit and

      interest in obtaining his degree. Further, Plaintiff had a liberty interest in his future

      profession as a nurse, and his good name, reputation, honor, or integrity. Defendant’s

      actions put his due process and liberty interests at stake.

71.   Pursuant to CEI’s policy at the time, presumably adopted by the Trustees, Plaintiff was

      allowed to be represented by legal counsel who could argue on his behalf, cross examine

      witnesses, present witnesses, and submit other evidence to support Plaintiff’s claim that

      the allegations were false.

72.   During the hearing, Nelson made unfounded derogatory statements about Plaintiff based

      on nothing more than her perceived notion and stereotypes of Plaintiff’s disabilities. She

      openly stated that no person suffering from depression should be allowed to be a nurse

      because they are dangerous.

73.   During the hearing, Plaintiff, through his legal counsel, raised concerns that the expulsion

      decision was discriminatory, a violation of the ADA and/or the Rehabilitation Act, based

      on false allegations, which had been confirmed by the police and court, and would cause

      Plaintiff serious harm by the loss of his chosen profession as a nurse or reputation.

74.   Plaintiff also submitted numerous letters of recommendation to illustrate his good name

      and character.

75.   After a period of deliberation, appeals committee decided to overturn Nelson’s decision to

      expel Plaintiff.

76.   At the time, Plaintiff had one semester left before graduation during which he would spend

      nearly all of his time in clinical rotations away from campus.




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77.   In spite of overturning the decision, Defendants placed restrictions on Plaintiff’s re-

      enrollment, including barring him from campus without an escort and requiring him to

      continue counseling with Cureton. Defendants also warned Plaintiff that any violation of

      policy in the student handbook would result in immediate dismissal.

78.   To prepare for his clinical rotations, Plaintiff specifically stated on a clinical form

      pertaining to the three five-week rotations for his final semester that he did not have reliable

      transportation and could not travel far for clinicals.

79.   Before he was expelled in December, Plaintiff reached out to his supervisors where he

      worked in the nursing department to set up clinical rotations for the next semester at that

      hospital. Because he had been working there and was performing well, they were happy to

      let him do his rotations there.

80.   However, when Plaintiff told Reading that he had arranged to do his clinical rotations at

      his current employer, Reading informed him that Barber had decided Plaintiff would not

      be allowed to do his rotations there because she wanted him further away from CEI’s

      campus.

81.   On the first day of class after being allowed to continue at CEI, the Clinical Coordinator,

      Nielson, one of the members of the appeal committee for Plaintiff’s hearing, told Plaintiff

      she did not support the decision to let Plaintiff back into the Program.

82.   Based on Nielson’s openly biased statement, Plaintiff was extremely worried about being

      allowed to complete his degree.

83.   As part of his clinical rotations, Plaintiff was assigned a Preceptor, a person jointly selected

      by the hospital and CEI to meet required written criteria.




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84.   CEI’s policies stated that it agreed to select Preceptors based on their experience, clinical

      competence, positive attitude, willingness to teach, and communication skills.

85.   Both Plaintiff and his Preceptor for each rotation were required to sign the Preceptor

      Program Manual, prepared by CEI, to set forth the expectations of both Preceptor and

      student.

86.   According to the Preceptor Program Manual, the Clinical Coordinator, Nielson, was to

      ensure the Preceptor was familiar with and signed the Preceptor Program Manual and to

      ensure the Preceptor met expected performance objectives.

87.   Plaintiff began the first of three five-week rotations at Portneuf Medical Center in Pocatello

      in January 2021. Because Plaintiff did not have reliable transportation, he was forced to

      use retirement money to purchase a newer vehicle.

88.   Plaintiff had been working as a nurse apprentice for an extended period of time, including

      throughout his schooling at CEI, so the work he was doing during the rotation at Portneuf

      was familiar to him and went well. Plaintiff received nothing but “excellent” reviews and

      very favorable comments from his Preceptor.

89.   In fact, his Preceptor wrote, “[John Doe] has gone above and beyond to integrate himself

      into our unit. His constant dedication to learn and improve has molded him into the perfect

      hirable candidate for any facility.”

90.   Plaintiff’s second five-week rotation was to be at Bingham Memorial Hospital in

      Blackfoot. The orientation for that rotation was set for February 10, 2021. However,

      Plaintiff learned later that he should also have received credit for his hours at EIRMC as a

      nurse apprentice.




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91.   Plaintiff inadvertently missed the orientation at Bingham Memorial Hospital. Due to a

      heavy workload because of COVID-19, Plaintiff was coming off a 12-hour shift the night

      before at EIRMC and had slept four hours in the previous 37 hours. He had an exam to

      prepare for as well and had to coordinate going on campus with Reading because of

      Defendants’ restriction that he be escorted at all times while on campus.

92.   As soon as he realized his inadvertent mistake, Plaintiff notified his clinical instructor right

      away, asking for direction on how to remedy the situation. Plaintiff was willing to do

      whatever was necessary to rectify the situation.

93.   Initially, Plaintiff was told to go ahead and start the rotation.

94.   Within a few days, Reading emailed Plaintiff, informing him he could not begin the

      rotation without orientation, and that CEI would provide no additional opportunity to do

      orientation.

95.   On February 19, 2021, Reading informed Plaintiff he was being dismissed from the

      Nursing Program, for a second time. Plaintiff was given no opportunity for appeal.

96.   In December 2021, Plaintiff’s legal counsel reached out to CEI’s legal counsel to see if

      there was a solution so that Plaintiff could salvage his education and degree. Plaintiff had

      a limited time to complete the Program and needed to finish it during the upcoming

      semester.

97.   In January 2022, Plaintiff was allowed to register to complete his final semester, again, but

      had to jump through numerous hoops in a very short period of time in which to meet the

      qualifications. Plaintiff was given a different faculty member outside the Nursing Program,

      with whom to work, and was told he had to complete the entire clinical rotations over, in

      spite of his successful rotation at Portneuf and his work as an apprentice.


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98.    However, Plaintiff still could not be on campus without an escort. As a result, Plaintiff

       could not attend a job fair on campus.

99.    For his first clinical rotation, CEI asserted it assigned Plaintiff and another student to the

       same Preceptor. However, CEI was able to quickly find another Preceptor to oversee

       Plaintiff.

100.   Plaintiff’s second attempt at his clinical rotations was going very well, just as it had the

       first time. He had excellent reviews.

101.   Plaintiff was on his last rotation and was finishing the last couple of weeks of his clinical

       rotation in wound care at Mountain View Hospital, even though he had sufficient accrued

       hours working as a nurse apprentice to qualify him for completion of the Program in

       addition to his clinical hours from his time at Portneuf Medical Center previously.

102.   Because Plaintiff was so close to completing his degree, during his last clinical rotation in

       wound care, he interviewed for a nursing position and was given an offer for his dream job

       of working in a burn unit, which he accepted. In addition, Plaintiff had signed up and paid

       the fee to take his nursing boards.

103.   After the first week in wound care, Plaintiff’s Preceptor took vacation. Plaintiff was

       directed to work with another nurse. Unbeknownst to Plaintiff, the other nurse was not

       aware of the requirements of a Preceptor and had never signed or reviewed the Preceptor

       Program Manual, as required.

104.   Plaintiff’s actual Preceptor signed the Preceptor Program Manual, as did Plaintiff.

105.   The nurse filling in for Plaintiff’s Preceptor seemed annoyed that she had to supervise a

       student. When Plaintiff introduced himself and said where he lived, she stated, “Why

       would you live there?”


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106.   The fill-in nurse rarely spoke to Plaintiff. As he had in every other week of his clinical

       rotation, Plaintiff tried to go above and beyond to help the staff and support their patients.

       His actual Preceptor had allowed Plaintiff to roam a bit within the unit to be able to observe

       and help where he could.

107.   Plaintiff’s Preceptor told him she would be submitting his first week review but would not

       be putting any comments in the section because she was short on time. She assessed

       Plaintiff with mostly “goods” with one “excellent” and one “average.” CEI listed the fill-

       in nurse on Plaintiff’s review sheet, but his actual Preceptor told him she was doing his

       evaluation.

108.   After working with Plaintiff for approximately two and a half days, unbeknownst to him,

       the fill-in nurse expressed concerns about him. Nielson, the same person who wanted

       Plaintiff out of the Program, learned of the concerns and she and Chris Smout (“Smout”)

       spoke to the fill-in nurse and her supervisor without ever discussing the issues with

       Plaintiff.

109.   Nielson told Barber of the concerns and instead of speaking to Plaintiff and helping him

       and the fill-in nurse work out any concerns, Plaintiff was directed to leave for the day.

       Plaintiff did not learn until days later that the fill-in nurse simply wanted him to never be

       alone with a patient without her there—a situation that could have easily been resolved

       with some clear communication with either help from his faculty or by the fill-in nurse.

110.   Plaintiff did not understand why he had been sent home. On April 5, 2022, Plaintiff notified

       by email his assigned instructor that he had been sent home and did not understand why.

       However, he wanted to ensure the situation was worked out or that he could be reassigned

       to another department or find some alternative to finish out his clinical rotation.


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111.   CEI immediately responded that there was not another clinical spot or opening for him

       even though he was so near to completing his degree.

112.   Plaintiff’s actual Preceptor expected him to do CNA duties, which Plaintiff was happy to

       do in order to be helpful. For example, his Preceptor directed him to take photos of wounds

       and showed him how to use the iPad to take the photos, including the password, which was

       a task the CNA’s did.

113.   According to the Nursing Student Policy and Procedure Handbook, if an allegation is made,

       the student is to be provided an opportunity to respond, as follows:

       [t]he faculty member making the allegation of the violation will meet with the
       student to discuss the incident within three or less working business days except in
       extenuating circumstances. The faculty member will inform the Nursing
       Administrator of the occurrence as soon as possible and may require the student to
       fill out a success contract or student warning and plan for improvement. The
       student has the opportunity to provide his or her explanation of the situation.

       ***

       The Nurse Administrator may request a meeting with the student following the
       initial meeting with faculty. The nurse administrator may, if he or she deems it
       necessary and in their full discretion, call a Code Resolution Meeting as outline in
       the student code of conduct….”

114.   Instead of ever speaking to Plaintiff as required, his faculty member, Smout and Nielson,

       prepared a complaint and recommended that Plaintiff be expelled from the Program. The

       Nurse Administrator was Trimble, the person Plaintiff was falsely accused of being a threat

       toward.

115.   Consequently, Plaintiff never got a chance to speak to the fill-in nurse, his Preceptor,

       Smout, the Clinical Coordinator, or the Nurse Administrator to explain the situation from

       his perspective and resolve the concern. Plaintiff did not understand the fill-in nurse’s

       expectations to never stay alone with a patient and would have happily complied. In fact,


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       Plaintiff did not know what the allegations were until after Smout and Nielson had made

       the decision to, once again, expel him from the Nursing Program.

116.   Walker, in place of Trimble, initiated a “Code Resolution Meeting” instead of seeking a

       lesser resolution of the concerns.

117.   However, Defendants, presumably through the Trustees, revised their appeal process since

       Plaintiff’s last appeal.

118.   Pursuant to the new Code Resolution Meeting, Defendants removed all procedural due

       process protections:

       a.      Plaintiff could bring a support person, including legal counsel, but they were not

               allowed to speak;

       b.      CEI’s attorney, on the other hand, could and did speak, and asked Plaintiff at least

               one question;

       c.      The actual complainant, the fill-in nurse, provided no testimony;

       d.      CEI’s only witness was Smout who presented the fill-in nurse’s statement of

               alleged events, including hearsay from others without written statements;

       e.      Smout proceeded with the complaint without ever asking Plaintiff his side of the

               story, providing Plaintiff no informal discussion prior to the hearing;

       f.      No testimony was under oath;

       g.      CEI did not obtain any statements from his actual Preceptor or any of his other

               assigned Preceptors, knowing Plaintiff had no contact information for them; and

       h.      Plaintiff had no opportunity to cross examine anyone, which also would have been

               impossible considering there was no testimony from anyone with actual

               knowledge.


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119.   Coming as no surprise, Walker, the same person who suggested Plaintiff check himself

       into the Behavioral Health Center, agreed with the expulsion from the Nursing Program on

       April 22, 2022.

120.   Plaintiff appealed to the Appeal Review Committee Board on or about April 28, 2022.

       Again, Plaintiff was restricted and limited in what he could present and who could speak

       based on CEI’s policies, presumably as adopted by the Trustees. The Appeal Review

       Committee Board disagreed with the expulsion from the Nursing Program and eliminated

       that penalty. However, Plaintiff would have to reapply to take the same class for the third

       time after six months had passed.

121.   In order to exhaust his appeal right, Plaintiff submitted a discretionary appeal on May 27,

       2022, to the person assigned by CEI, President Aman acting on behalf of Barber. However,

       Aman also had been told the false allegations about Plaintiff being a threat.

122.   Plaintiff provided a copy of his appeal to CEI’s legal counsel.

123.   Unbeknownst to Plaintiff, Smout also appealed but failed to provide a copy to Plaintiff’s

       legal counsel.

124.   On June 21, 2022, nearly a month later, Aman reinstated the expulsion of Plaintiff from

       the Nursing Program. Plaintiff lost his offer of employment because CEI refused to allow

       him to graduate.

125.   Plaintiff has exhausted any administrative remedies available to him.

                                    COUNT I
              VIOLATION OF SECTION 504 OF THE REHABILITATION
                   ACT/ AMERICANS WITH DISABILITIES ACT
                           (Disability Discrimination)




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126.   Plaintiff realleges and incorporates paragraphs 1 through 125 as though fully set forth

       herein.

127.   At all relevant times, Plaintiff was disabled within the meaning of the Rehabilitation Act

       and the ADA.

128.   At all relevant times Plaintiff was “otherwise qualified” to remain a student at CEI,

       inasmuch as he met the academic and technical standards requisite for admission or

       participation in the school’s Nursing Program, with or without reasonable accommodation.

129.   Plaintiff was either excluded from participation in or denied the benefits of CEI’s services,

       programs or activities, or was otherwise discriminated against by CEI.

130.   Plaintiff was dismissed and/or prohibited from returning to the Nursing Program because

       of his disabilities and/or perceived notion and stereotypes of his disabilities or perceived

       disabilities.

131.   CEI failed to provide meaningful access or reasonable accommodation to Plaintiff.

132.   As a direct and proximate result of CEI’s actions and/or failure to act, Plaintiff has suffered

       and will continue to suffer emotional distress.

133.   As a direct and proximate result of CEI’s actions and/or failure to act, Plaintiff has suffered

       and will continue to suffer a loss of earnings and other employment benefits and job

       opportunities.

134.   Plaintiff is entitled to general and compensatory damages in an amount to be proven at

       trial, as well as any other equitable remedies available to him.

                                     COUNT II
                 VIOLATION OF SECTION 504 OF THE REHABILITATION
                      ACT/ AMERICANS WITH DISABILITIES ACT
                             (Discrimination/Retaliation)



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135.   Plaintiff realleges and incorporates paragraphs 1 through 134 as though fully set forth

       herein.

136.   Plaintiff was capable of completing his clinical rotations required for graduation and made

       prior arrangements with his supervisors at his hospital employer to do his rotations there

       since he was already working there and had unreliable transportation.

137.   Due to his disabilities, Plaintiff needed the accommodation of working with those who

       already knew him and knew of his good work in order to lesson Plaintiff’s anxiety and

       stress.

138.   Instead of accommodating Plaintiff and allowing him to do his rotations at his current

       employer, CEI retaliated against him and/or discriminated against him by requiring him to

       travel to hospitals farther away from campus for his clinical rotations because of CEI’s

       perceived notions of his disability.

139.   CEI also retaliated against or discriminated against Plaintiff by restricting his right to be

       on campus.

140.   CEI’s actions in forcing Plaintiff to travel contributed to him missing the orientation at

       Bingham Memorial Hospital.

141.   Plaintiff could have completed the orientation another day or started the rotation since he

       was familiar with the process and had been working as a nurse apprentice.

142.   Instead of allowing Plaintiff an opportunity to complete his training, CEI abruptly and

       without reasonable justification dismissed him from the Program.

143.   The animosity of several faculty and administrators at CEI toward Plaintiff because of

       perceived notions and stereotypes of his disabilities was well-known.




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144.   Despite being required to allow Plaintiff to return to school in January 2021 after he was

       successful in his appeal, and again in January 2022, CEI retaliated against or discriminated

       against Plaintiff twice at the first available opportunity by again expelling him from the

       Program.

145.   Plaintiff has been unable to escape the discriminatory bias towards him because the same

       actors have engaged in a continuing action to see him dismissed from the Nursing Program.

146.   As a result of CEI’s retaliatory or discriminatory actions in immediately dismissing him

       without an opportunity to complete the Program or appeal the decision, and/or requiring

       him to again take the same class, Plaintiff has suffered extreme emotional distress.

147.   Further, CEI retaliated or discriminated against Plaintiff by failing to obtain his side of the

       story when allegations arose, jumping at the chance to again expel him from the Nursing

       Program.

148.   In addition, CEI put Plaintiff in a position where no other school will allow him to continue

       his training to become a nurse.

149.   As a direct and proximate result of CEI’s actions and/or failure to act, Plaintiff has suffered

       and will continue to suffer loss of earnings, benefits, and job opportunities, as well as

       emotional distress.

150.   Plaintiff is therefore entitled to general and compensatory damages, in an amount to be

       proven at trial, as well as any other equitable remedies available to him.

                                         COUNT III
                               VIOLATION OF 42 U.S.C. § 1983
                             (Fourteenth Amendment Due Process)

151.   Plaintiff realleges and incorporates paragraphs 1 through 150 as though fully set forth

       herein.


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152.   The Fourteenth Amendment to the United States Constitution provides that no state shall

       “deprive any person of life, liberty or property, without due process of law.”

153.   It is well established that Fourteenth Amendment due process protections are required in

       higher education disciplinary hearings.

154.   A person who has been admitted to a municipal community college has a protected

       property interest in continuing his education at that school until he has completed his course

       of study. The state cannot deprive a person of this interest without due process.

155.   As a result, if Plaintiff as a CEI student faces disciplinary action that included the

       possibility of suspension or expulsion, then the due process provision of the Fourteenth

       Amendment to the United States Constitution applied to the disciplinary process that CEI

       used.

156.   In this case, the individual Defendants are state actors subject to the Fourteenth

       Amendment.

157.   A person has a protected liberty interest in his good name, reputation, honor, and integrity,

       of which he cannot be deprived without due process.

158.   A person has a protected property interest in pursuing his education, as well as in future

       educational and employment opportunities and occupational liberty, of which he cannot be

       deprived without due process.

159.   Plaintiff’s Constitutionally protected property interest in his continued enrollment at CEI

       and his right to complete his degree at CEI was violated by Defendants’ actions.

160.   Plaintiff had a Constitutional right to be free from reputational damage without due

       process.




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161.   Plaintiff had a Constitutional right to be free from arbitrary suspension, dismissal, or

       restriction on his ability to enter campus.

162.   Plaintiff’s Constitutionally protected property interest in his right to continued enrollment

       at CEI also rises from the policies, course of conduct, practices, and understandings

       established by CEI.

163.   Plaintiff’s Constitutionally protected property interest further arises from the express and

       implied contractual relationship between CEI and Plaintiff, including the Nursing Program

       and counseling center.

164.   Defendants acted under color of law when Holland breached her fiduciary duty and duty

       of confidentiality to Plaintiff, causing Plaintiff severe reputational damage. Further,

       Defendants further violated Plaintiff’s rights by spreading the information and acting when

       there was no imminent threat.

165.   Defendants acted under color of law in dismissing Plaintiff from the Nursing Program in

       December 2020.

166.   Holland deprived Plaintiff of his Constitutional right of due process by asserting he was a

       threat to Trimble when she knew there was no imminent threat, knew that Plaintiff was

       venting in a confidential counseling session, Holland failed to discuss her concerns with

       Plaintiff, and knew that Plaintiff would suffer severe consequences.

167.   Defendants deprived Plaintiff of his Constitutional right of due process by dismissing

       Plaintiff from the Nursing Program without investigation or consideration of evidence that

       supported that Plaintiff was not a threat to himself or others and failing to even discuss the

       situation with Plaintiff after he requested legal counsel.




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168.   Although Defendants’ decision was overturned, Defendants placed unreasonable

       restrictions on Plaintiff without evidence to support the restrictions, which made Plaintiff’s

       ability to complete his schooling far more difficult and created additional hurdles for

       Plaintiff which were not applied to other nursing students, which were supported by Nelson

       and/or Barber.

169.   The conditions imposed, including restricting his access to campus, were damaging to his

       reputation, and his interest in completing his education and chosen profession.

170.   As a direct and proximate result of Defendants’ actions and/or failure to act, Plaintiff has

       suffered and will continue to suffer emotional distress.

171.   As a direct and proximate result of Defendants’ actions and/or failure to act, Plaintiff has

       suffered and will continue to suffer a loss of earnings and other employment benefits and

       job opportunities.

172.   Plaintiff is entitled to general and compensatory damages in an amount to be proven at

       trial, as well as any other equitable remedies available to him.

173.   Defendants’ conduct was willful or done with reckless disregard for Plaintiff’s federally

       protected rights, for which Plaintiff is entitled to punitive damages pursuant to 42 U.S.C.

       § 1981a(a).


                                       COUNT IV
                              VIOLATION OF 42 U.S.C. § 1983
                                 (Freedom of Movement)

174.   Plaintiff realleges and incorporates paragraphs 1 through 173 as though fully set forth

       herein.




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175.   Defendants acted under color of law in restricting Plaintiff’s ability to access campus and

       without supervision to be in certain areas near campus.

176.   Defendants deprived Plaintiff of his Constitutional right of freedom of movement by

       restricting his ability to be on campus and/or near campus to complete his degree without

       evidence to support the allegations.

177.   As a direct and proximate result of Defendants’ actions and/or failure to act, Plaintiff has

       suffered and will continue to suffer emotional distress.

178.   As a direct and proximate result of Defendants’ actions and/or failure to act, Plaintiff has

       suffered and will continue to suffer a loss of earnings and other employment benefits and

       job opportunities.

179.   Plaintiff is entitled to general and compensatory damages in an amount to be proven at

       trial, as well as any other equitable remedies available to him.

180.   Defendants’ conduct was willful or done with reckless disregard for Plaintiff’s federally

       protected rights, for which Plaintiff is entitled to punitive damages pursuant to 42 U.S.C.

       § 1981a(a).

                                       COUNT V
                              VIOLATION OF 42 U.S.C. § 1983
                                   (First Amendment)

181.   Plaintiff realleges and incorporates paragraphs 1 through 180 as though fully set forth

       herein.

182.   Plaintiff exercised his First Amendment right to free speech when he expressed his

       frustration with faculty within the Nursing Program and their refusal to consider input and

       complaints from himself and other students, including but not limited to Trimble.




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183.   Because CEI is a public entity, issues relating to concerns about faculty and student

       complaints are issues of public concern.

184.   Defendants retaliated against Plaintiff after they learned of his frustrations and reports

       against Trimble, along with his ongoing reports of complaints from other students.

185.   Defendants’ actions in dismissing Plaintiff from school would prevent or chill another

       student from engaging in free speech, including criticizing the department or faculty.

186.   Even after a hearing that failed to confirm the false allegations against Plaintiff, Defendants

       still placed restrictions and limitations on Plaintiff’s ability to attend and participate fully

       in school.

187.   Plaintiff’s free speech was a substantial or motivating factor in Defendants’ actions.

188.   As a direct and proximate result of Defendants’ actions and/or failure to act, Plaintiff has

       suffered and will continue to suffer emotional distress.

189.   As a direct and proximate result of Defendants’ actions and/or failure to act, Plaintiff has

       suffered and will continue to suffer a loss of earnings and other employment benefits and

       job opportunities.

190.   Plaintiff is entitled to general and compensatory damages in an amount to be proven at

       trial, as well as any other equitable remedies available to him.

191.   Defendants’ conduct was willful or done with reckless disregard for Plaintiff’s federally

       protected rights, for which Plaintiff is entitled to punitive damages pursuant to 42 U.S.C.

       § 1981a(a).


                                          COUNT VI
                               VIOLATION OF 42 U.S.C. § 1983
                             (Fourteenth Amendment Due Process)



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192.   Plaintiff realleges and incorporates paragraphs 1 through 191 as though fully set forth

       herein.

193.   Reading acted under color of law in his position as Dean of Healthcare and Human Services

       at CEI.

194.   Defendants deprived Plaintiff of his Constitutional right of procedural due process when

       they dismissed Plaintiff from the Nursing Program with no appeal rights after Plaintiff was

       successful in contesting his first dismissal.

195.   As a result of Defendants’ retaliatory actions in immediately dismissing him without an

       opportunity to complete the program or appeal the decision, Plaintiff has suffered extreme

       emotional distress.

196.   As a direct and proximate result of Defendants’ actions and/or failure to act, Plaintiff has

       suffered and will continue to suffer loss of earnings, benefits, and job opportunities as well

       as emotional distress.

197.   Plaintiff is therefore entitled to general and compensatory damages, in an amount to be

       proven at trial, as well as any other equitable remedies available to him.

198.   Defendants’ conduct was willful or done with reckless disregard for Plaintiff’s federally

       protected rights, for which Plaintiff is entitled to punitive damages pursuant to 42 U.S.C.

       § 1981a(a).


                                         COUNT VII
                               VIOLATION OF 42 U.S.C. § 1983
                             (Fourteenth Amendment Due Process)

199.   Plaintiff realleges and incorporates paragraphs 1 through 198 as though fully set forth

       herein.



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200.   Defendants acted under color of law in their positions at CEI.

201.   CEI and Trustees amended CEI’s policies to provide no due process protections. The

       appeal process is unconstitutional on its face.

202.   In applying CEI’s unconstitutional policy, Defendants deprived Plaintiff of his right of due

       process when, at a minimum, they failed to give Plaintiff an opportunity to discuss the

       allegations prior to any decisions being made, an opportunity to resolve the dispute within

       the wound care unit, be represented in a meaningful way by legal counsel, have testimony

       submitted under oath, have an opportunity to confront the actual complainant, have an

       opportunity to cross examine, or ask questions or have argument made on his behalf prior

       to being dismissed from the Nursing Program.

203.   Defendants knew the fill-in nurse had not entered into the Preceptor agreement with CEI

       and had not read or agreed to the Preceptor Handbook.

204.   Defendants failed to obtain evidence from Plaintiff’s actual Preceptor or obtain statements

       from his previous Preceptors.

205.   Defendants also knew that Plaintiff did not have contact information for the nurses with

       whom he had worked, and that Plaintiff had been previously reprimanded for contacting

       Bingham Memorial Hospital on his own.

206.   As a result of Defendants’ actions, Plaintiff has suffered extreme emotional distress.

207.   As a direct and proximate result of Defendants’ actions and/or failure to act, Plaintiff has

       suffered and will continue to suffer loss of earnings, benefits, and job opportunities as well

       as emotional distress. Plaintiff is therefore entitled to general and compensatory damages,

       in an amount to be proven at trial, as well as any other equitable remedies available to him.




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208.   Defendants’ conduct was willful or done with reckless disregard for Plaintiff’s federally

       protected rights, for which Plaintiff is entitled to punitive damages pursuant to 42 U.S.C.

       § 1981a(a).

                                      COUNT VIII
                              VIOLATION OF 42 U.S.C. § 1983
                 (Fourteenth Amendment Due Process – Biased Decisionmakers)

209.   Plaintiff realleges and incorporates paragraphs 1 through 208 as though fully set forth

       herein.

210.   In spite of their involvement in the false allegations that Plaintiff posed a threat, CEI

       allowed biased Defendants to decide and determine Plaintiff’s continuation in the Nursing

       Program under its unconstitutional disciplinary procedures.

211.   Defendants were acting under color of law when each participated in deciding whether

       Plaintiff would be expelled from the Nursing Program.

212.   Under the Fourteenth Amendment, Plaintiff was entitled to a fair and impartial

       decisionmaker.

213.   Due to comments made and their participation in past unsubstantiated allegations against

       Plaintiff, Defendants were not fair or impartial.

214.   As a result of Defendants’ actions, Plaintiff has suffered extreme emotional distress.

215.   As a direct and proximate result of Defendants’ actions and/or failure to act, Plaintiff has

       suffered and will continue to suffer loss of earnings, benefits, and job opportunities as well

       as emotional distress. Plaintiff is therefore entitled to general and compensatory damages,

       in an amount to be proven at trial, as well as any other equitable remedies available to him.




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216.   Defendants’ conduct was willful or done with reckless disregard for Plaintiff’s federally

       protected rights, for which Plaintiff is entitled to punitive damages pursuant to 42 U.S.C.

       § 1981a(a).

                                        COUNT IX
                              VIOLATION OF 42 U.S.C. § 1983
                                 (Substantive Due Process)

217.   Plaintiff realleges and incorporates paragraphs 1 through 216 as though fully set forth

       herein.

218.   Plaintiff had a Constitutional right to work in his chosen profession of nursing.

219.   Defendants’ actions in dismissing him from the Nursing Program three times, once with a

       little less than a semester of work to complete and the most recent with all or nearly all

       requirements completed, unreasonably interfered with Plaintiff’s liberty interest in his

       educational pursuit and to eventually work as a registered nurse.

220.   In addition, Defendants put him in a position where no other school will allow him to

       continue his training to become a nurse and he will have to start over from the beginning

       if he decides to attend another school, which will result in additional expenses and lost

       wages he could have earned as a nurse.

221.   In addition, based on the past actions, Defendants’ will never allow Plaintiff to obtain a

       nursing degree from CEI.

222.   As a direct and proximate result of Defendants’ actions and/or failure to act, Plaintiff has

       suffered and will continue to suffer loss of earnings, benefits, and job opportunities as well

       as emotional distress. Plaintiff is therefore entitled to general and compensatory damages,

       in an amount to be proven at trial, as well as any other equitable remedies available to him.




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223.   Defendants’ conduct was willful or done with reckless disregard for Plaintiff’s federally

       protected rights, for which Plaintiff is entitled to punitive damages pursuant to 42 U.S.C.

       § 1981a(a).

                                        COUNT X
                                 ESTOPPEL AND RELIANCE

224.   Plaintiff realleges and incorporates paragraphs 1 through 223 as though fully set forth

       herein.

225.   CEI’s various policies constitute representations and promised that CEI should have

       reasonably expected to induce action or forbearance by Plaintiff.

226.   CEI expected or should have reasonably expected Plaintiff to accept its offer of admission,

       incur tuition and fee expenses, and choose not to attend other colleges, based on its express

       and implied promises that CEI would not deny Plaintiff his procedural right should he be

       accused of a violation of CEI’s policies.

227.   Plaintiff relied upon to his detriment on these express and implied promises and

       representations by CEI.

228.   Based on the foregoing, CEI is liable to Plaintiff based on estoppel.

229.   As a direct, reasonable, and foreseeable consequence of these breaches, Plaintiff sustained

       damage, including without limitation, emotional distress, economic injuries, the inability

       to complete his studies at CEI, and other general and compensatory damages.

230.   As a result of the foregoing, Plaintiff is entitled to damage in an amount to be determined

       at trial.

                                       COUNT XI
                                 DECLARATORY JUDGMENT




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231.   Plaintiff realleges and incorporates paragraphs 1 through 230 as though fully set forth

       herein.

232.   CEI has committed numerous violations of the Parties’ contract and of federal and state

       law.

233.   Plaintiff’s future has been severely compromised and damaged. Without appropriate

       redress, the sanctions imposed as a result of Defendants’ biased reports, investigations, and

       decisions will continue to cause irreversible damage to Plaintiff’s educational, career, and

       future employment prospects, with no end in sight.

234.   As a result of the foregoing, there exists a justiciable controversy between the Parties with

       respect to the outcome, permanency, and future handling of Plaintiff’s formal student

       record at CEI.

235.   By reason of the foregoing, Plaintiff requests, pursuant to 28 U.S.C. § 2201, a declaration

       that: (1) the outcome and findings made by Defendants be reversed; (2) Plaintiff’s

       expulsion be reversed; (3) Plaintiff’s reputation be restored; (4) Plaintiff’s degree from the

       Nursing Program be issued; (5) all records related to the investigations of Plaintiff be

       destroyed; and (6) CEI’s Code Resolution Meeting policy for allegations of serious

       misconduct be declared unconstitutional as written and applied.

                                     ATTORNEY’S FEES

236.   As a further direct and proximate result of Defendants’ actions and/or failures to act,

       Plaintiff has been compelled to retain the services of counsel and has thereby incurred and

       will continue to incur costs and attorney’s fees which Defendants should be required to pay

       pursuant to 42 U.S.C. § 12205, 29 U.S.C. § 794a(b), 42 U.S.C. § 1988, and 28 U.S.C. §

       2202.


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                                 DEMAND FOR JURY TRIAL

       Plaintiff demands trial by jury as to all issues triable to a jury in this action.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff seeks judgment against Defendants as follows:

1.     For compensatory and general damages as well as statutorily available damages in an

       amount as shall be proven at trial, and any available equitable remedies;

2.     For punitive damages;

3.     For pre-judgment interest;

4.     For prospective relief as requested;

5.     For attorney’s fees pursuant to statute and costs of suit; and

6.     For such other and further relief as the Court deems just and proper.



Dated this 22nd day of November 2022.

                                                        /s/
                                                        DeAnne Casperson
                                                        CASPERSON ULRICH DUSTIN PLLC




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